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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION


UNITED STATES OF AMERICA                                                           PLAINTIFF

V.                                   CASE NO. 4:14-CV-4155
                                     CASE NO. 4:11-CR-40037

GREGORY LEWIS                                                                    DEFENDANT

                                           ORDER

        Before the Court is Defendant’s Amended Application for a Certificate of Appealability.

ECF No. 1728. Defendant has filed the same document with the United States Court of Appeals

for the Eighth Circuit. Lewis v. United States, No. 16-2196 (8th Cir. filed June 24, 2016), ECF

No. 4421167. On September 22, 2016, the Eighth Circuit granted Defendant’s Application solely

on the issue of “[w]hether counsel was ineffective for failing to challenge the district court’s

finding that [Defendant’s] 2006 conviction was a crime of violence for purposes of sentencing.”

Lewis, ECF No. 4450848. Therefore, Defendant’s Amended Application filed in this Court is

moot.

        For the reasons stated above, Defendant’s Amended Application for a Certificate of

Appealability (ECF No. 1728) is DENIED AS MOOT.

        IT IS SO ORDERED, this 26th day of October, 2016.


                                                           /s/ Susan O. Hickey
                                                           Susan O. Hickey
                                                           United States District Judge
